

Matter of Spaeth v Annucci (2024 NY Slip Op 04034)





Matter of Spaeth v Annucci


2024 NY Slip Op 04034


Decided on July 26, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 26, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., BANNISTER, OGDEN, GREENWOOD, AND KEANE, JJ.


544 CA 23-01621

[*1]IN THE MATTER OF JONATHAN SPAETH, PETITIONER-APPELLANT,
vANTHONY ANNUCCI, ACTING COMMISSIONER, NEW YORK STATE DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION, RESPONDENT-RESPONDENT. 






WYOMING COUNTY-ATTICA LEGAL AID BUREAU, WARSAW (LEAH R. NOWOTARSKI OF COUNSEL), FOR PETITIONER-APPELLANT. 
LETITIA JAMES, ATTORNEY GENERAL, ALBANY (BEEZLY J. KIERNAN OF COUNSEL), FOR RESPONDENT-RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Wyoming County (Michael M. Mohun, A.J.), entered September 14, 2023, in a proceeding pursuant to CPLR article 78. The judgment dismissed the petition. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Memorandum: Petitioner appeals from a judgment dismissing his CPLR article 78 petition seeking to annul the determination of the Board of Parole (Board) denying his request for release to parole supervision following a hearing in April 2022. The Attorney General has advised this Court that, subsequent to that denial and during the pendency of this appeal, petitioner reappeared before the Board in April 2024 and was again denied release. Consequently, this appeal must be dismissed as moot (see Matter of Romano v Annucci, 196 AD3d 1176, 1176 [4th Dept 2021]; Matter of Colon v Annucci, 177 AD3d 1393, 1394 [4th Dept 2019]; see generally Matter of Moissett v Travis, 97 NY2d 673, 674 [2001]). Contrary to petitioner's contention, we conclude that this case does not fall within the exception to the mootness doctrine (see Romano, 196 AD3d at 1176; Colon, 177 AD3d at 1394; Matter of Brunner v Speckard, 214 AD2d 1040, 1040-1041 [4th Dept 1995], lv denied 86 NY2d 707 [1995]; see generally Matter of Hearst Corp. v Clyne, 50 NY2d 707, 714-715 [1980]).
Entered: July 26, 2024
Ann Dillon Flynn
Clerk of the Court








